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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                  CASE NO. 2018-cv-61393-MGC

 KALAYANA SINGAMALA,

        Plaintiff,

 vs.

 NATARAJ ADKIKE,

       Defendant.
 ________________________________/

  PLAINTIFF’S MOTION FOR REMAND AND INCORPORATED MEMORANDUM OF
                                LAW

        Plaintiff, KALAYANA SINGAMALA, requests the Court to remand the instant matter

 back to the Circuit Court of the 17th Judicial Circuit in and for Broward County, Florida, and states

 as follows:

        1.      As conceded by Defendant, Plaintiff filed an action (“State Court Action”) against

 Defendant on June 5, 2017 [D.E. 1, Para. 1] to recover damages for fraud based upon a transaction

 whereby Defendant induced Plaintiff to wire him money (which Plaintiff did) and then Defendant

 failed to repay the debt. A copy of the state court complaint is attached hereto as Exhibit “A.”

 The Notice of Removal was filed more than a year later, on June 20, 2018.

        2.      A Default Final Judgment was entered by Hon. Michael Robinson on October 12,

 2017. A copy of the State Court Final Judgment is attached hereto as Exhibit “B.”

        3.      Defendant, in response to a motion for order to show cause (for failing to comply

 with the State Court Final Judgment) filed a Response and Objections to Plaintiff’s Amended

 Motion for Order to Show Cause on or about January 31, 2018. A copy of the motion is attached
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 hereto as Exhibit “C.” Defendant then filed a Motion to Appear Telephonically (attached hereto

 as Exhibit “D”) and participated in a hearing, resulting in an order on Plaintiff’s Motion for Order

 to Show Cause. A copy of the order is attached hereto as Exhibit “E.”

        4.      As a preliminary matter, it has long been held that the removal statutes must be

 strictly construed with all doubts resolved in favor of remand. Burns v. Windsor Ins. Co., 31 F.3d

 1092 (11th Cir. 1994). “A district court is required to “‘strictly construe the right to remove’ and

 apply a general ‘presumption against the exercise of federal jurisdiction, such that all uncertainties

 as to removal jurisdiction are to be resolved in favor of remand.’” Hialeah Anesthesia Specialists,

 LLC v. Coventry Health Care of Florida, Inc., 258 F.Supp.3d 1323 (S.D. Fla. 2017)(quoting

 Scimone v. Carnival Corp., 720 F.3d 876, 882 (11th Cir. 2013)(quoting Russell Corp. v. Am. Home

 Assur. Co., 264 F.3d 1040, 1050 (11th Cir. 2001).

        4.      28 U.S.C. § 1446 governs the procedure for the removal of state court matters to

 the federal courts. 28 U.S.C. § 1446(b)(1) states as follows:

                The notice of removal of a civil action or proceeding shall be filed
                within 30 days after the receipt by the defendant, through service or
                otherwise, of a copy of the initial pleading setting forth the claim for
                relief upon which such action or proceeding is based, or within 30
                days after the service of summons upon the defendant if such initial
                pleading has then been filed in court and is not required to be served
                on the defendant, whichever period is shorter.

        5.      The defendant was served with the Summons and Complaint on July 17, 2017 by

 completing substitute service1 upon Defendant’s wife. A copy of the Verified Return of Service

 is attached hereto as Exhibit “F.” This service was proper pursuant to § 48.194(1), Fla. Stat., which



 1
   Fla. Stat. § 48.031(1)(a) provides that “Service of original process is made by delivering a copy
 of it to the person to be served with a copy of the complaint, petition, or other initial pleading or
 paper or by leaving the copies at his or usual place of abode with any person residing therein who
 is 15 years of age or older and informing the person of their contents.”
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 provides, in part, “Except as otherwise provided herein, service of process on persons outside of

 this state shall be made in the same manner as service within this state by any officer authorized

 to serve process in the state where the person is served.”

        6.      Thus, given that service was achieved on July 17, 2017, Defendant had until August

 16, 2017 within which to remove the State Court Action to this Court. Having failed to timely do

 so, the Court must remand this case back to the state court.

        7.      Separately, pursuant to 28 U.S.C. § 1446(c), “a case may not be removed based on

 diversity jurisdiction more than one year after commencement of the action, absent a finding that

 the plaintiff acted in bad faith to prevent removal.” Davis v. Clayman, 2018 WL 1959805 (M.D.

 Fla. April 26, 2018). This case was removed on June 20, 2018 but Defendant conceded that the

 State Court Action was filed on June 5, 2017. As a result, consistent with 28 U.S.C. § 1446(c) and

 Davis, the Court must remand the State Court Action on the basis that Defendant failed to timely

 initiate the removal of this case to this Court. Given the fact that Defendant participated in the

 State Court Action, there are no set of facts where Defendant can claim that Plaintiff acted in bad

 faith to prevent removal.

        8.      Further, although removal was barred for procedural reasons, Defendant waived

 the right to removal by participating in the State Court Action. A defendant can waive the right to

 removal by litigating the case upon the merits.         Yusefzadeh v. Nelson, Mullins, Riley &

 Scarborough, LLP, 365 F.3d 1244 (11th Cir. 2004). The determination of “waiver” is determined

 on a case-by-case basis. Hill v. State Farm Mut. Auto. Ins. Co., 72 F.Supp.2d 1353 (M.D. Fla.

 1999). Here, not only did Defendant file the Response and Objections to Plaintiff’s Amended

 Motion for Order to Show Cause, Defendant participated in the hearing on Plaintiff’s Motion for

 Order to Show Cause. Given the failure to timely remove the action, in conjunction with the
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 participation in the State Court Action both by filing a response and objections, and attending a

 hearing (thereby seeking to litigate the case upon the merits), Defendant defensively acted in the

 State Court Action thereby waiving removal.

        WHEREFORE, for the foregoing reasons, Plaintiff requests the Court to remand the instant

 matter back to the 17th Judicial Circuit in and for Broward County, Florida and to grant Plaintiff

 any other relief the Court deems just, equitable and proper.

        CERTIFICATION OF GOOD FAITH ATTEMPT TO RESOLVE MOTION

        Undersigned counsel has made reasonable efforts to confer with all parties in this motion,

 via email on June 26, 2018 at 3:00 p.m. (without a response), but has been unable to do so.


                                                       /s/ Brad E. Kelsky
                                                      _________________________
                                                      BRAD E. KELSKY, ESQ.
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                                                      FBN: 0059307



                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was mailed this 2nd
 day of July 2018 to:

 Nataraj Adike
 781 Nuttal Oak Court
 Sunnyvale, CA 94086

                                                       /s/ Brad E. Kelsky
                                                      ______________________
                                                      BRAD E. KELSKY
